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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                          No. 2:12-md-02323-AB
INJURY LITIGATION                                   MDL No. 2323


Kevin Turner and Shawn Wooden,                      Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

            Plaintiffs,

                v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                             DECLARATION OF SEAN MOREY

Pursuant to 28 U.S.C. § 1746, Sean Morey declares as follows:

       1.     I have ten credited seasons playing in the NFL, as a wide receiver and as a member

of the special teams.

       2.     I began my NFL career in 1999 with the New England Patriots. I played for the

Philadelphia Eagles in 2002, and throughout the 2003 NFL season. I played for the three seasons

with the Pittsburgh Steelers in 2004, 2005 & 2006. I played the final three seasons of my NFL

career with the Arizona Cardinals from 2007 until 2009. I retired in 2010.

       3.     I am also a veteran of NFL Europe. In 2000, the Patriots allocated me to the

Barcelona Dragons where I played wide receiver and on special teams. I returned to the Dragons


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for the 2001 season, allocated again by the New England Patriots to play defensive back and

special teams. I was then allocated to the Barcelona Dragons by the Philadelphia Eagles in 2003,

where I played my third and final season in NFL Europe.

       4.    During training camp for and throughout the three seasons that I played in NFL

Europe, I suffered repeated head trauma.

       5.    The NFL Europe season lasted ten games with one additional championship game.

Additionally, all teams would have live scrimmages during training camp in Florida, which

lasted approximately two weeks before traveling to Europe for the season. In addition, some

NFL Europe teams held “full contact” practices during the week throughout the season.

       6.    NFL Europe games were largely the same as NFL games played here in the United

States. The field dimensions, duration of game, and principal rules were largely the same as

those in the NFL. Unlike the NFL, however, NFL Europe restricted overload blitzes; as defenses

were restricted in the number of rushers to a particular side. The rule sought to simplify

protection schemes and protect quarterbacks.       Otherwise, the rules governing contact were

largely the same as those in the NFL.

       7.    The NFL Europe season did not overlap with the NFL season. Thus, some players

played a full season in NFL Europe, went directly into NFL Training Camps, and played an

entire season in the NFL in a single year. In 2003, for example, I played 33 games total: 10

games with the Dragons in NFL Europe and 23 games with the Eagles in the NFL (4 preseason

games, 16 regular season games, and 3 playoff games).

       8.    NFL Europe was not equipped to provide the level of medical care necessary for

injured football players. I found it difficult to communicate with the foreign doctors, who often

did not speak English, and the athletic trainers were ill-equipped and often inexperienced. NFL



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Europe did not have a neurological expert on the sideline and did not implement any concussion

protocol.

       9.    I am aware that, from time to time, players playing in NFL Europe were flown to

Health South in Birmingham, Alabama for medical care as a result of those players not being

able to receive appropriate care in Europe, as well as for rehabilitation.




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